   Case 1:23-cr-00239-CKK   Document 294-3   Filed 03/21/25   Page 1 of 2




            Appellate Division of the Supreme Court
                     of the State of New York
                    First Judicial Department


       I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                   Shailee Diwanji Sharma
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on November 24,
2014, has duly taken and subscribed the oath of office prescribed
by law, has been enrolled in the Roll of Attorneys and Counselors
at Law on file in this office, is duly registered with the Office of
Court Administration, and according to the records of this Court
is currently in good standing as an Attorney and Counselor-at-
Law.



                             In Witness Whereof, I have hereunto set
                             my hand in the City of New York on
                             March 18, 2025.




                                        Clerk of the Court




CertID-00220952
   Case 1:23-cr-00239-CKK                  Document 294-3       Filed 03/21/25         Page 2 of 2


                  Supreme Court of the State of New York
                   Appellate Division, First Department

  DIANNE T. RENWICK                                                                   MARGARET SOWAH
     PRESIDING JUSTICE                                                            DEPUTY CLERK OF THE COURT


SUSANNA MOLINA ROJAS                                                             DOUGLAS C. SULLIVAN
     CLERK OF THE COURT                                                           DEPUTY CLERK OF THE COURT


To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                          Susanna Rojas
                                                          Clerk of the Court




Revised October 2020


                          27 MADISON AVENUE     NEW YORK, NEW YORK 10010-2201
                    TEL.: (212) 340 0400     INTERNET: WWW.NYCOURTS.GOV/COURTS/AD1/
